EXHIBIT 2
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                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      26th day of May, two thousand twenty-three.

      Before:     Sarah A. L. Merriam,
                         Circuit Judge.
      ________________________________

       Wayne Baliga, derivatively on behalf of Link
       Motion Inc., FKA NQ Mobile Inc.,                  ORDER

                    Plaintiff - Appellee,                Docket No. 23-827

       Robert W. Seiden, 469 Seventh Avenue New
       York, NY 10018 (212) 523-0686,

                    Receiver - Appellee,

       v.

       Vincent Wenyong Shi,

                 Defendant – Appellant.
       ________________________________

            Appellant moves for an emergency stay enjoining Robert Seiden, the court appointed
      temporary receiver for Defendant Link Motion Inc., from proceeding with any Emergency
      General Meetings of the shareholders of Link Motion Inc.

              IT IS HEREBY ORDERED that the motion is DENIED without prejudice to renewal
      after compliance with Rule 8 of the Federal Rules of Appellant Procedure. Appellant does not
      argue that compliance with Rule 8 by filing a motion for stay in the District Court would be
      impracticable; rather, Appellant essentially contends that the District Court is unlikely to grant
      the relief he seeks. The Order appealed from was entered May 10, 2023, giving Appellant
      adequate time to bring a motion in the District Court in the first instance, as required by the Rule.


                                                            For the Court:

                                                            Catherine O’Hagan Wolfe,
                                                            Clerk of Court




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